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AO 245B(Rev. 10/15) Judgment in a Criminal Case
         Sheet!




                                         United States District Court
                                                  SOUTHERN District of OHIO (Cincinnati)
              UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                  v.


                                                                                  Case Number:           I:14cr022-1
                        Jeffrey Edmerson
                                                                                  USM Number:            72115-061

                                                                                  Karen Savir, Esq.
                                                                                  Defendant's Attorney
THE DEFENDANT:

13 pleaded guilty tocount(s)       1and 3 ofthe Indictment
(~1 pleaded nolo contendere to count(s)
   which was accepted by the court.
O was found guilty on count(s)
   after a plea of not guilty.

The defendantis adjudicatedguilty of these offenses:

Title & Section                  Nature of Offense                                                         Offense Ended             Count
21 841(a)(1),                    Conspiracy to Possess with Intent to Distribute 5 or More                 1/21/2014         1
(b)(1)(A) and 846
18 USC 924(c)(1)(A) & 2          Possession of a Firearm in Furtherance of a Drug Trafficking              1/21/2014         3
                                 Offense



       The defendant is sentenced as provided in pages 2 through              6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[~|The defendant has been found not guilty on count(s)
E3 Count(s) 2,4and 5                              D is          ^ are dismissed on the motion ofthe United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to
pay restitution,the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                      2/9/2016
                                                                       Date of Imposition of Judgment




                                                                       Signature ofJudge




                                                                       Michael R. Barrett, United States District Judge
                                                                       Name and Title ofJudge


                                                                                                  /rzc/6
                                                                      "Date                ~T
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A024SB (Rev. 10/15) Judgmentin Criminal Case
                    Sheet 2 — Imprisonment

                                                                                                         Judgment—Page    2   of
 DEFENDANT:                   Jeffrey Edmerson
CASE NUMBER:                  1:14cr022-l



                                                             IMPRISONMENT

          The defendant is hereby committed tothecustody of theUnited States Bureau of Prisons to be imprisoned for a
total term of:
Count 1: one hundred fity-six (156) months with credit fortime served;
Count 3: sixty (60) months withcredit for time served to be consecutive to Count 1(total 216 months).



      £3 The court makes the following recommendations to the Bureau of Prisons:

              The Defendant be permitted to participate in a BOP sponsored apprenticeship program;
              the defendant be placed in the BOP RDAP; and the defendant be placed in a BOP facility nearest
              Cincinnati, Ohio.


      £3 The defendant is remanded to the custody ofthe United States Marshal.

      •   The defendant shall surrender to the United States Marshal for this district:
          C] at                                  O a-m-       CH P-m-         on
          D as notified by the United States Marshal.

      |~~| The defendant shall surrender for service of sentence at the institution designated bythe Bureau of Prisons:
          l~~l before 2p.m. on                                            .
          •    as notified bythe United States Marshal.
          [~1 as notified by the Probation or Pretrial Services Office.


                                                                    RETURN

 I have executed this judgment as follows:




          Defendant delivered on                                                          to

 at                                                , with a certified copy of this judgment.


                                                                                                    UNITED STATES MARSHAL




                                                                          By
                                                                                               DEPUTY UNITED STATES MARSHAL
                        Case: 1:14-cr-00022-MRB Doc #: 112 Filed: 02/11/16 Page: 3 of 6 PAGEID #: 553

A0 24SB (Rev. 10/15)Judgmentin a Criminal Case
        Sheet 3 — SupervisedRelease

                                                                                                                  Judgment—Page         3       of
 DEFENDANT:                     Jeffrey Edmerson
CASE NUMBER:                    1:14cr022-1


                                                             SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a termof:
Count 1: five (5) years
Count 3: five (5) years to run concurrentto Count 1.
             The defendant must report to the probation office inthe district to which the defendant is released within 72 hours of release from the custody of
the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall notunlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of acontrolled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and atleast twoperiodic drug tests thereafter, as determined by the
court.

i—i Theabove drug testing condition is suspended, based onthecourt's determination that thedefendant poses a lowrisk of
 LJ future substance abuse. (Check ifapplicable.)
 IXI The defendant shall not possess afirearm, ammunition, destructive device, or any other dangerous weapon. (Check, ifapplicable.)
(3 The defendant shall cooperate in the collection ofDNA as directed by the probation officer. (Check ifapplicable.)
         Thedefendant shall comply with therequirements of the SexOffender Registration and Notification Act(42 U.S.C. § 16901, e/ seq.) asdirected bythe
 I I probation officer, the Bureau ofPrisons, or any state sex offender registration agency in which he or she resides, works, is astudent, or was convicted
         of a qualifyingoffense. (Check if applicable.)
 I I The defendant shall participate in an approved program for domestic violence. (Check ifapplicable.)
             If thisjudgment imposes a fine orrestitution, it is a condition of supervised release thatthe defendant payin accordance with the Schedule of
 Payments sheet ofthis judgment.
            The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on the
attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leavethe judicial district withoutthe permission ofthe courtor probation officer;
   2)     the defendantshall reportto the probation officer in a mannerand frequency directed by the courtor probation officer,
   3)     the defendant shall answer truthfully all inquiries by the probation officerand followthe instructions ofthe probation officer;
   4)     the defendantshall supporthis or her dependentsand meet other family responsibilities;
   5)     the defendantshall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable reasons;
   6)     the defendantshall notify the probation officer at least ten days priorto any changein residence or employment;
   7)     the defendantshallrefrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administerany controlledsubstanceor any
          paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substancesare illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony, unless
           granted permission to do so by the probationofficer,
  10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
           observed in plain view of the probationofficer;
  11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of the
           court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
           personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
           such notification requirement.
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AO 24SB (Rev. 10/15)Judgmentin a CriminalCase
        Sheet 3A — Supervised Release

                                                                                                   Judgment—Page            of
DEFENDANT:                Jeffrey Edmerson
CASE NUMBER:              l:14cr022-l


                                     ADDITIONAL SUPERVISED RELEASE TERMS

The Defendant shall participate in a program of random drug testing and treatment asdirected by the United States Probation Department.

The Defendant shall be required to pay any unpaid balance ofhis fine whileon supervised release.

The defendant shall participate in a program orcourse of studyaimed atimproving his employment skills, for example, participate in or
complete a vocational training program or the Workforce Development Program, at the direction of his probation officer.
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AO 24SB (Rev. 10/15)Judgmentin a CriminalCase
         Sheet 5 — CriminalMonetaryPenalties

                                                                                                           Judgment — Page               of
 DEFENDANT:                      Jeffrey Edmerson
 CASE NUMBER:                     l:14cr022-l


                                                CRIMINAL MONETARY PENALTIES

     The defendant must pay the total criminalmonetary penalties underthe scheduleof payments on Sheet 6.

                       Assessment                                           Fine                               Restitution

 TOTALS            $   200.00


 [~l The determination ofrestitution is deferred until                     .An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.


•    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                               Total Loss*                              Restitution Ordered                     Priority or Percentage




TOTALS


 |~| Restitution amount ordered pursuant to plea agreement $

 f~| The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine ispaid in full before the
      fifteenth day after the date ofthe judgment, pursuant to 18 U.S.C. § 3612(f). All ofthe payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuantto 18 U.S.C. § 3612(g).

 |~| The courtdetermined thatthe defendant doesnot havethe ability to pay interest andit is ordered that:
      •    the interest requirement is waived for the       •       fine     •     restitution.
      •    the interest requirement for the      •   fine       •     restitution ismodified as follows:
 * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
 after September 13,1994, but before April 23, 1996.
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AO 24SB (Rev. 10/1S)Judgment in a CriminalCase
        Sheet 6 — Schedule of Payments

                                                                                                          Judgment — Page                of
DEFENDANT:                  Jeffrey Edmerson
CASE NUMBER:                l:14cr022-l


                                                     SCHEDULE OF PAYMENTS

Having assessedthe defendant's ability to pay, payment ofthe total criminalmonetary penaltiesis due as follows:

 A |3 Lump sum payment of$ 200.00                             due immediately, balance due
           |~1 not laterthan                                      ,or
            g| inaccordance            •    C,   •    D,      $Q E, or        \£ Fbelow; or
 B    l~1 Payment tobegin immediately (may becombined with                fjc,        IZl D,        O Fbelow); or
C     l~1 Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months or years), to commence                   (e.g., 30 or60days) after the date ofthis judgment; or
 D Q Payment in equal                              (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                          (e.g., months oryears), to commence                        (e.g., 30 or60days) after release from imprisonment to a
           term of supervision; or
      |^l Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
                                                                                               60
            imprisonment. The court will set the payment plan based on an assessment ofthe defendant's ability to pay at that time; or

            Special instructions regarding the payment of criminal monetary penalties:
           While incarcerated, if the Defendant is working in a non-UNICOR or Grade 5 UN1COR job, the Defendant shall pay $23.00 per
           quarter toward his fine obligation. If working in a Grade I to 4 UNICOR job, the Defendantshall pay 50% of his monthly pay
           toward the fine obligation. Any change in this schedule shall be made only by order ofthis Court.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
 during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk ofthe court

 The defendantshallreceive credit for all payments previously made toward any criminal monetary penaltiesimposed.



 I~l Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 I~l The defendant shall pay the cost of prosecution.
 •     The defendant shall pay the following court cost(s):
 ^1 The defendant shall forfeit thedefendant's interest inthe following property to the United States:
       Tanfoglio modelCombat Sport, 10mmcaliber pistol, SN EA50095; Smith & Wesson model686, .357caliber pistol SN CFN3224;
       Taurus model PT145 Millennium Pro, .45caliber pistol SN NZL64553; andTitan, modelTitan, .25 caliber pistol SN D814064.
 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) communityrestitution, (7) penalties, and(8) costs, including costof prosecution andcourtcosts.
